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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


 RUBEN ORLANDO ESCOBAR,

          Petitioner,

 v.                                                                      Case No: 8:02-cr-228-T-30AAS

 UNITED STATES OF AMERICA,

          Respondent.

 ________________________________/


                                                      ORDER
          THIS CAUSE comes before the Court upon Petitioner Ruben Orlando Escobar’s

 Motion Under 18 U.S.C. § 3582(c)(2) for Modification of Sentence by a Person in Federal

 Custody (Doc. 364), which the Court construes as a successive motion to vacate, set aside,

 or correct sentence pursuant to 28 U.S.C. § 2255. 1 By his motion, Escobar asserts that he

 is entitled to relief pursuant to Johnson v. United States, 135 S. Ct. 2551, declared

 retroactive by Welch v. United States, 136 S. Ct. 1257 (2016). Because Escobar’s motion

 is an unauthorized, successive § 2255 motion, it should be dismissed.




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            Petitioner asserts that he should be entitled to relief under § 3582(c)(2) based on the Supreme Court’s
 decision in Johnson v. United States, 135 S. Ct. 2551 (2015). However, § 3582(c)(2) only applies when a sentencing
 range has been subsequently lowered by the Sentencing Commission. There was no lowering of the sentencing range
 as a result of Johnson; § 3582(c)(2) is therefore inapplicable. Recognizing Petitioner’s pro se status, the Court accords
 his motion liberal construction and construes the motion as a successive § 2255. The motion is successive because
 Petitioner previously filed a § 2255 motion, which was denied on the merits, on November 1, 2007. See Escobar v.
 United States, No. 8:07-cv-1979-T-30AAS (M.D. Fla. 2007).
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                                      BACKGROUND

        On May 29, 2002, Petitioner and eight other defendants were convicted following a

 jury trial of (1) possession with intent to distribute five kilograms or more of a mixture or

 substance containing a detectable amount of cocaine while aboard a vessel subject to the

 jurisdiction of the United States, in violation of 46 Appendix, U.S.C. § 1903(a), (g)(1), 18

 U.S.C. § 2, and 21 U.S.C. § 841(b)(1)(A)(ii), and (2) conspiracy to possess five kilograms

 or more of cocaine with intent to distribute while aboard a vessel subject to the jurisdiction

 of the United States, in violation of 46 Appendix, U.S.C. § 1903(a), (g), (j), and 21 U.S.C.

 § 841(b)(1)(A)(ii). (Doc. 92). On February 14, 2003, Petitioner was sentenced to 292

 months’ imprisonment on both counts to run concurrently, to be followed by five years’

 supervised release. (Doc. 169). Petitioner filed an appeal, and his convictions and

 sentences were affirmed by the Eleventh Circuit. (Docs. 180, 255).

        On November 1, 2007, Petitioner filed a motion pursuant to § 2255. See Escobar

 v. United States, No. 8:07-cv-1979-T-30AAS (M.D. Fla. 2007). His motion was denied as

 without merit.

                                        DISCUSSION

        Petitioner’s present construed § 2255 motion is a second or successive motion.

 Pursuant to 28 U.S.C. §§ 2255(h) and 2244(b)(3)(A), as amended by the Antiterrorism and

 Effective Death Penalty Act of 1996, federal prisoners who want to file a second or

 successive motion to vacate, set aside, or correct a sentence must move in the appropriate

 court of appeals for an order authorizing the district court to consider the second or

 successive motion. See 28 U.S.C. § 2244(b)(3)(A). A three-judge panel of the court of

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 appeals may authorize the filing of a second or successive motion only if it determines that

 the motion contains claims which rely on either:

        (1) newly discovered evidence that, if proven and viewed in the light of the
        evidence as a whole, would be sufficient to establish by clear and convincing
        evidence that no reasonable factfinder would have found the movant guilty
        of the offense; or

        (2) a new rule of constitutional law, made retroactive to cases on collateral
        review by the Supreme Court, that was previously unavailable.

 28 U.S.C. § 2255(h).

        Because Petitioner has not received authorization to file a second or successive

 habeas petition from the Eleventh Circuit, this Court lacks jurisdiction to consider his

 motion and it should be dismissed. See United States v. Holt, 417 F.3d 1172, 1175 (11th

 Cir. 2005) (“Without authorization [from the appropriate court of appeals, a] district court

 lacks jurisdiction to consider a second or successive petition.”).

        However, for Petitioner’s benefit, the Court notes he would not be entitled to relief

 under Johnson. In Johnson, the Supreme Court held that the residual clause of the Armed

 Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii), defining a violent felony as

 a crime “involv[ing] conduct that presents a serious potential risk of physical injury to

 another,” is unconstitutionally vague. See Johnson, 135 S. Ct. at 2563.

        Petitioner was not sentenced pursuant to the ACCA, and Johnson has no application

 to Petitioner’s sentence. Thus, Petitioner would not be entitled to relief under Johnson.




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                                    CONCLUSION

       Accordingly, it is therefore ORDERED AND ADJUDGED that:

       1.     Petitioner Ruben Orlando Escobar’s construed motion to vacate, set aside, or

 correct sentence pursuant to 28 U.S.C. § 2255 (Doc. 364) is DISMISSED.

       DONE and ORDERED in Tampa, Florida, this 11th day of August, 2016.




 Copies furnished to:
 Counsel/Parties of Record




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